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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT of CALIFORNIA
                                 WESTERN DIVISION(LOS ANGELES)

                              CIVIL ACTION NO. ~•1-~ ~C v~C~ ~ ~3` ~ ~~~ — ~~ C' ~



 BRANDON JOE WILLIAMS~,
                 Plaintiff,
        v.
 AMERICAN EXPRESS COMPANY,
 AMERICAN EXPRESS KABBAGE 1NC.
         Defendants.




                                     SUMMONS IN A CIVIL ACTION

TO:(Defendants'names and addresses)

   AMERICAN EXPRESS COMPANY
   c/o CT CORPORATION SYSTEM
   330 N. Brand Blvd., Suite 700
   Glendale, California 91203



           A lawsuit has been filed against you. Within 21 days after service ofthis summons on you(not counting
   the day you received it) or 60 days if you are the United States or a United States agency, or an officer or
   employee of the United States described in Fed. R. Civ. P. 12(a)(2) or(3)C you must serve on the plaintiff an
   answer to the attached complaint or a motion under Rule 12 ofthe Federal Rules ofCivil Procedure. The answer
   or motion must be served on the plaintiff or plaintiffs attorney, whose name and address are:

                                           BRANDON JOE WILLIAMS~
                                                 P.O. Box 1962
                                            Glendale, California 91209


           If you fail to respond,judgment by default will be entered against you for the relief demanded in the
   complaint. You also must file your answer or motion with the court.

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                                        ~.            •~
                                                               CLERK OF COURT
             Z Z~ Z                      ~,~~ o ~ ' ,cam ~F
   Date:        {                              ~o
                                                r.>„~~
                                             ~~s„
                                                              Signatur ofClerk or Deputy Clerk
                                               1256
                                                                             ERICK ES7RADA
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                                                                                   Civil Summons(Page 2)
                                               PROOF OF SERVICE
                 (this section should not befiled with the court unless required by Fed. R. Civ. P. 4(l))

            This summons for(name ofindivadual and title, ifany)

    was received by me on (date)

        ❑ I personally served the summons on the individual at (place)

                                                                            on (date)                      ; or

        ❑ I left the summons at the individual's residence or usual place ofabode with (name)

                                                              a person of suitable age and discretion who resides there,

            on (date)                        ,and mailed a copy to the individual's last known address; or

        ❑ I served the summons on (name ofindividual)                                                             who is

            designated by law to accept service of process on behalfof(name oforganization

                                                                on (date)                           or

        ❑ 1 returned the summons unexecuted because                                                                   or

        ❑ Other (specify):



    My fees are $                  for travel and $                     for services, for a total of$


    I declare under penalty of perjury that this information is true.


    Date:
                                                       Server's Signature



                                                      Printed name and title



                                                      Server's address


    Additional information regarding attempted service, etc.
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